                        Case 4:12-cr-00051-BMM Document 199 Filed 10/01/18 Page 1 of 7

AU 245B (Rev. 02/18)    Judgment in a Criminal Case
                        Sheet 1                                                                                        FILED
                                           UNITED STATES DISTRICT COURT                                                  OCT - 1 2018
                                                                                                                      Cieri<, U,S District Court
                                                                    District of Montana                                  District Of Montana
                                                                            )                                                 Great Falls
                UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                                    v.                                      )
                                                                            )
                       FREDERICK JOE LaNA                                           Case Number: CR 12-51-GF-BMM-02
                           aka "POPS"                                       )
                                                                            )        USM Number: 76056-112
                                                                            )
                                                                            )        Ardrew Huff
                                                                            )       Defezldant's Anomey
THE DEFENDANT:
liZ! pleaded gUilty to count(R)          2 of the Indictment

o pleaded nolo contendere to count(s)
   which was accepted by the court
o was fOlllld guilty on count(s)
   after a plea of not guilty.

Tbc defendant is adjudicated guilty ofthese offenses:

Title & Section.                   Nature ofOffenst                                                         Offense Ended
 21 U.S.C. §§ 841(b)(1)(C), 846      Conspiracy 10 Possess with Inlent 10 Distribute Cocaine                  May 2011                    2




       The delimdant is sentenced as provided in pages 2 through           _-,-7_ _ ofthis judgment. The sentence 18 imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count{s)
liZ! Count(s)   ~1'c.:3~'24~a~n::'.d~7_ _ _ _ _ _ _ 0          is    !if are dismissed on the motion ofthe United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days ofany change ofname~ residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fuTly paid, Jf ordered to pay restitution,
the defendant must notify the court and United States attorney of material ehanges in economic circumstances.




                                                                             gnature of Judge




                                                                           Brian Morris, United States District Judge
                                                                           Nftme and Title of Juoge


                                                                           9/2712018
                                                                           Date
                       Case 4:12-cr-00051-BMM Document 199 Filed 10/01/18 Page 2 of 7

AO 245B (Rev. 02/1 S) Judgment in Criminal Case
                      Sheet 2 -Imprisonment
                                                                                                     Judgment ~ Page _-,2~_ of   7
 DEFEI\l])ANT: FREDERICK JOE LONA aka "POPS"
 CASE NUMBER: CR 12-51-GF-BMM-02

                                                             IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned fur a total
 term of:

  Twelve (12) months and One (1) day




     o The court makes the following recommendations to the Bureau of Prisons:
  Place Mr, Lorna in Lompoc Federal Institution. Avoid placing Mr, Lorna with co-defendats,




     o The defendant is remanded to the custody of the United States Marsh.l,
     o The defendant shall surrender to the United States Marshal for this district;
            o at     _________ 0                      a,m,    o p,m,       on

            o as notified by the United States Marshal.
     1!1 The defendant shaH surrender for service ofsentence at the institution designated by the Bureau of Prisons:
            o before 2 p,m, on
            ~ as notified by the United States Marshal.

            o as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                      to
m _______________                                    with a certified copy of this judgment.



                                                                                                  UNITED STAlES MARSHAL


                                                                          By
                                                                                               DEPUTY UNtTED STATES MARSHAL
                       Case 4:12-cr-00051-BMM Document 199 Filed 10/01/18 Page 3 of 7

AO 2458 (Rev, 02118)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release


DEFENDANT, FREDERICK JOE LaNA aka "POPS"
CASE NUMBER: CR 12-S1-GF-BMM·02
                                                       SUPERVISED RELEASE
(;pon release from imprisonment, you win be on supervised release for a tenn of:
     Three (3) years




                                                      MANDATORY CONDITIONS

1.      You must not commit another federal, state or loeal crime.
2.      You must not unlawfully possess a contTolled substance.
3.      You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter. as determined by the court.
               o  The above drug testing condition is suspended, based on the court's detennination that you
                   pose a low risk of future substanee abuse. (check if applicable)
4,       0   You must make restitution in accQrdance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution. (check if applicable)
5.       l!f You must cooperate in the coUection of ONA as direeted by the probation offker. (check ifapplicable)
6,       0   You must comply with the requirements of the Sex Offender Registration and Notifieation Act (34 U.S,c, § 20901, et seq.) as
             directed by the probation officer. the Bureau of Prisons t or any state sex offender registration ageney in the location where you
             reside, work. are a srudent, or were convicted of a qualifying offense. (check ifapplicable)
7.       0 You must participate In an approved program for domestie violcncc_ (check ifawlicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                     Case 4:12-cr-00051-BMM Document 199 Filed 10/01/18 Page 4 of 7

 AO 245B (Rev, 02/1 Ii) Judgment in II Criminal Case
                        Sheet 3A ~ Supervised Release
                                                                                              Judgment Page         4       of         1
DEFENDANT: FREDERICK JOE LONA aka "POPS"
CASE NUMBER: CR 12-51-GF-BMM-02

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identifY the minimum tools needed by probation
offieers to keep informed, report to the court about, and bring about improvements in your conduct and condition,

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, urness the probation officer instructs you to report to a different probation office or within a different time
    frame,
2.  Aftcr initially reporting to the probation office, you will reeeive instructions from the eourt or the probation offker about how and
    when you must report to the probation officer, and you must report to the probation offieer as instructed.
3,  You must not knowingly leave the federal judicial district where you are authorized to reside without first getting pennission from the
    court or the probation officer.
4.  You must answer truthfully the questions asked by your probation officer,
5.  You must live at a place approved by the probation officer. [fyou plan to change where you live or anything about your living
    arrangements (sueh as the people you live with), you must notify the probation officer at least 10 days before the change. [fnotifying
    the probation officer in advance is not possible duc to unanticipated circumstances, you must notifY the probation offieer within 72
    hours of becoming aware of a ehange or expected ehange.
6,  You must allow the probation officer to visit you at any time at your horne or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7,  You must work full time (at least 30 hours per week) at n lawful type of employment, unless the probation officer exeuses you from
    doing so. lfyou do not have full-time employment you must try to find full~timc employment, unless the probation officer excuses
    you trom doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least to days before the ehange. If notifYing the probation officer at least 10
    days in advanee is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8,  You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony. you must not knowingly communicate or interact with that person without first getting the permission of the
    probatiou officer.
9.  If you are arrested or questioned by a law enforcement offieer, you must notifY the probation officcr within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunitioll; destructive device, or dangerous \\-'Capon (i.e., anything that was
    designed, or was modified fOf} the speeific purpose of causing bodily injury or death to another person such as nunchal'Us or tasers).
11 You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the penntssion of the court.
12, If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must eomply with that instruction. The probation officer may contact the
    person and confirm that you have notifIed the person about the risk,
13. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions speeified by the court and has provided me with a ",rritten eopy ofthis
judgment containing these eonditions. For further information regarding these conditions. see Overview ofProbation and Supervised
Release Conditions) available at: \\'WW.uscourts.gov,


Defendant's Signature                                                                                   D~e   ________________________
                   Case 4:12-cr-00051-BMM Document 199 Filed 10/01/18 Page 5 of 7
 AD 24SB(Rev, 02il8) Judgment in D. Criminal Case
                     Sheet 3D- Supervised Release
                                                                             Judgment Page ~ of        1
DEFENDANT: FREDERICK JOE LONA aka "POPS"
CASE NUMBER: CR 12-51-GF-BMM-02

                                       SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall submit his person, residence, place of employment, vehicles, and papers, to a
search, with or without a warrant by any probation officer based on reasonable suspicion of
contraband or evidence in violation of a condition of release. Failure to submit to search may be
grounds for revocation. The defendant shall warn any other occupants that the premises may be
subject to searches pursuant to this condition. The defendant shall allow seizure of suspected
contraband for further examination.

2. The defendant shall participate in and successfully complete a program of substance abuse
treatment as approved by the United States Probation Office, until the defendant is released from the
program by the probation officer. The defendant is to pay part or all of the cost of this treatment, as
directed by the United States Probation Office.

3. The defendant shall partiCipate in substance abuse testing, to include not more than 104 urinalysis
tests, not more than 104 breathalyzer tests, and not more than 36 sweat patch applications annually
during the period of supervision. The defendant shall pay all or part of the costs of testing as directed
by the United States Probation Office.

4. The defendant shall not possess, ingest or inhale any toxic substances such as, but not limited to,
synthetic marijuana, kratom and/or synthetic stimulants such as bath salts and spice, that are not
manufactured for human consumption, for the purpose of altering the defendant's mental or physical
state.

5. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or
possess a medical marijuana card or prescription.

6. The defendant shall surrender their medical marijuana card to United States Probation.
                       Case 4:12-cr-00051-BMM Document 199 Filed 10/01/18 Page 6 of 7
AO 24SB (Rev. 02118)   ludgment in a Criminal Case
                       Sheet 5 ..... Criminal Monetary Penalties
                                                                                                    ludgment    Page     6       of         7
 DEFENDANT: FREDERICK JOE LONA aka "POPS"
 CASE NUMBER: CR 12-S1-GF-SMM-02
                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                       JVT A Assessment·           Fine                    Restitution
 TOTALS            51 100.00                       $ NIA                        51 WAIVED                $ N/A



 o The determination of restitution is deferred until _ _ _ _ . An Amended Judgment in a Criminal Case (AO USC) will be entered
      after such determination,

 o The defendant must make restitution (ineluding community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shaH receive an approximately proportioned pa.ytTIcnt, unless speeified othenvise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. & 3664(,), all nonfederal victims must be paid
      before the United States is pald.                                                       ­

 Same of Payee                                                        Total Loss**          Restitution Ordered          Priority or Percentage




TOTALS                                 $                           0.00       $ ____________~O~.O~O_


o     Restitution amount ordered pursuant to plea agreement $

o     The defendaJl.t must pay interest on restitution and a fioe of more than $2,500, unless the restitution Or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 maybe subject
      to penalties for delinquency and default, pursuant 10 18 U.S.c. § 3612(g).

o     The court determined that the defendant does not havc the ability to pay interest and it is ordered that:

      o the interest requirement is waived for the 0 fine 0 restitution.
      o the interest requirement for the o fine 0 restitution is modified as foHows:
• Justice for Victims ofTrafficking Act of2015, Pub. L No. 114-22 .
•• Finding, for the total amount of losses are required under Chapters 109A, 110, 1I0A, and II3A of Title I S for o!funse. committed on or
after September 13, 1994, bur before April 23, 1996.
                     Case 4:12-cr-00051-BMM Document 199 Filed 10/01/18 Page 7 of 7
AO 2458 (Rev 021(8) Judgment in a Criminal Case
                    Sheet 6- Schedule of Payments
                                                                                                                                   7_ of
                                                                                                              Judgment ---- Page _ _                    7
DEFENDANT: FREDERICK JOE LONA aka "POPS"
CASE NUMBER: CR 12-51-GF-BMM-02

                                                       SCHEDULE OF PAYMENTS

Having assessed the dcfendanfs ability to pay~ payment of the total criminal monetary penalties is due as follows:

A     0     Lump sum payment ofS                               due immediately, balance due

            0    not later than                                     , or
            0    in accordance with    0    C,     0    D,     0     E, or    o Fbelow;or
B     0     Payment to begin immediately (may be combined with               DC,    o D,or o F below); or
c     0     Payment in equal                        (e.g" weekly, monthly. quarterly) installments of S                              over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 6fJ day$) after the date of this judgment; or

D     0     Payment in equal                        (e.g" weekry, mDnthly, quarterly) installments of $                          over a period of
                          (e,g., months or years), to commence                      (e.g_, 30 Dr 6fJ days) after retease from imprisonment to a
            term ofsupervision; or

E     0     Payment during the tenn of supervised release will commence within __               (e.g., 30 or 60 days) after release from
            imprisonment. The eourt will set the payment plan based on an assessment of the defendant's abHity to pay at that time; or

F     III   Special instructions regarding the payment of criminal monetary penalties:

            Special assessment shall be immediately due and payable. While Incarcerated, criminal monetary penalty
            payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be through
            the Bureau of Prisons' Inmate Financial Responsibility Program, Criminal monetary payments shall be made to
            the Clerk, UnHed States District Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Great
            Falls, MT 59404, "Assessment Frederick Joe Lona, Jr.",
Unless lhe court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. AU cnminal monetary penalties, exeepl those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the elerk oftne eourt,

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (t.nclvding dejenda1f.t number), Total Amount, loint and Several Amount,
     and eorresponding payee, if appropriate.




o The defendant shall pay the cost of prosecution.
o    The defeodant shall pay the following court cost(s):

o The defendant shall forfeit the defendant's interest in the following property to the United States:

Payment, shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) eommunity restitution, (7) JVT A assessment, (8) penalties, and (9) costs, including cost ofprosecution and court costs,
